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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Abbott Laboratories
                                             Plaintiff,
v.                                                           Case No.: 1:19−cv−06587
                                                             Honorable Sara L. Ellis
Grifols Diagnostic Solutions Inc., et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 22, 2024:


        MINUTE entry before the Honorable Sara L. Ellis: Telephone conference held on
5/15/2024. Sealed motion [241] is granted in part and denied in part for the reasons stated
of record. Defendants' unopposed motion to seal [242] is granted. Plaintiff to complete
production and provide confirmation by May 31, 2024. Defendants' supplemental reports
are due by 6/14/2024; Plaintiff's supplemental report is due by 7/15/2024. Daubert
motions are due by 8/2/2024; responses by 8/30/2024 and replies by 9/23/2024. Mailed
notice(rj, )




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